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         EXHIBIT 10
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                               CHARLES M. BENBROOK
BUSINESS/HOME ADDRESS: 90063 Troy Road, Enterprise, Oregon 97828
PHONE: (541) 828-7918 (Business), (208) 290-8707 (Cell, works only when traveling)
E-MAIL: charlesbenbrook@gmail.com

                                 PERSONAL INFORMATION




Hobbies:       Fishing, Raising Rabbits

                                          EDUCATION

B.A. Degree - Economics, Harvard University (1971)
M.A. Degree - Agricultural Economics, University of Wisconsin (1979)
Ph.D. - Agricultural Economics, University of Wisconsin (1980)

                                  EMPLOYMENT HISTORY

Benbrook Consultant Services (BCS), President. December 1, 1990 to present.

       Analytical services for domestic and international clients in the public and private sectors.
       Areas of focus include biotechnology; pesticide use, risks, and regulation; adoption and
       costs-benefits of Integrated Pest Management; impacts of federal environmental and
       food laws, especially the Food Quality Protection Act of 1996. BCS specializes in the
       development of novel methodologies to assess environmental and public health risks and
       issues.

Washington State University, Center for Sustaining Agriculture and Natural Resources, Research
Professor. August 16, 2012 to May 15, 2015.
Adjunct Faculty, Department of Crop and Soil Sciences, Washington State University, October 31,
2007 to August 26, 2015

       Research scientist and program leader for the “Measure to Manage Program – Farm and
       Food Diagnostics for Sustainability and Health.”

The Organic Center, Chief Scientist. January 1, 2006 to May 31, 2012.
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       Developed and managed a program of research on the environmental and consumer
       health benefits of organic foods and farming.
                                                                                Last updated: November 30,
National Research Council/National Academy of Sciences,
Washington, D.C. Executive Director, Board on Agriculture. January 16, 1984 to November 30,
1990.

       Responsible for overseeing and managing activities of the Board. Major BA/NAS reports
       published during this period addressed the methods and applications of agricultural
       biotechnology; unique risks faced by infants and children from pesticide exposure;
       resistance to pesticides; options to improve the nutritional composition of animal
       products; and, agricultural research and education.

Subcommittee on Department Operations, Research, and Foreign Agriculture, Committee on
Agriculture, U.S. House of Representatives. Subcommittee chaired by Congressman George E.
Brown, Jr., Staff Director. April 1981 - January 13, 1984.

       Responsibilities included: (i) preparing and analyzing legislation within the jurisdiction of
       the subcommittee; (ii) organizing subcommittee hearings and business meetings; and,
       (iii) briefing members and staff on legislation and oversight activities.

Council on Environmental Quality, Executive Office of the President, Agricultural Policy Analyst.
December 1979 - March 1981.

       Represented CEQ on various Executive Branch committees; analyzed natural resource
       data and policy options; and (iii) conducted research and contributed to multiple
       Executive Branch reports.

                                   AWARDS and HONORS

Visiting Scholar, Bloomberg School of Public Health, Johns Hopkins University, March 31, 2017-
June 30, 2018

Visiting Professor, Newcastle University, Newcastle, U.K. 2016 - Present

Excellence in Science Award, OTA/TOC Dinner, March 2014.

Appointed as member, USDA’s AC 21 agricultural biotechnology advisory committee, 2010, and
reappointed in 2013.

Appointed to AGree Advisory Committee, 2010.
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Appointed as Adjunct Faculty Member, Department of Crop and Soil Sciences, Washington State
University, Pullman, Washington, 2007.

Graduated cum laude from Harvard University, 1971.
Received $1,000 cash award from the Council on Environmental Quality for contributions to the
completion of the National Agricultural Lands Study.

                                       LITIGATION HISTORY

In addition to the above activities, Benbrook has participated in several lawsuits involving
pesticide use and risks, agricultural biotechnology, and food labeling. The major cases are listed
below:

1. Peterson, et al. v. BASF Corp. Plaintiff’s attorney, Hugh Plunkett, Lockridge Grindal Nauen, St.
Paul, Minnesota. Trial Ada, Minnesota, in the District Court for Northeastern Minnesota (Red
River Valley)

2. James E. Fox, et al. v. Cheminova, Inc USDC, EDNY Case Number CV 00-5145, plaintiff’s
attorney Kevin Huddel, Jones, Verras, and Freiberg, LLC, New Orleans, Louisiana.

3. Ricardo Ruiz Guzman individually, Martin Martinez individually, and Miguel Farias and Ignacia
Farias, husband and wife v. Amvac Chemical Corporation. Plaintiff’s attorney, Richard Eymann,
Eymann, Allison, Hunter, Jones, P.S., Spokane, Washington.

4. United Industries v. Dow AgroSciences. Plaintiff’s attorney, Dudley Von Holt, Thompson
Coburn LLP, St. Louis, Missouri.

5. Hardin, et al. v. BASF, U.S. District Court for the Eastern District of Arkansas. Plaintiff’s
attorney, William French, Looper Reed and McGraw, Dallas, Texas.

6. Timm Adams, et al. vs. U.S.A., et al., Idaho U.S.D.C. Case No. CIV 03-049-E-BLW, Plaintiff’s
attorneys, Holland and Hart, Boise, ID and Denver, CO.

7. Jim Aana, et al., vs. DuPont Pioneer and Gay Robinson, Inc. Civil No. CV12 00231 – LEK-BMK,
United States District Court, District of Hawaii.

8. Conagra Foods, Inc, Case re Wesson oils, No. 11-cv-05379-MMM, U.S. District Court Central
District of California Western District.


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9. Laura Eggnatz, Katrina Garcia, and Julie Martin v. Kashi Company. Civil Case No.: 12-21678-
CIV-Lenardo/O’Sullivan, U.S. District Court, Southern District of Florida, Miami Division.

10. Grocery Manufacturers Association et al. Plaintiffs, v. William H. Sorrell, Attorney General of
Vermont, et al., Case No. 5:14-cv-117, United States District Court for the State of Vermont.

11. Barron v. Snyder’s-Lance, Inc. No. 0:13-cv-62496-Leonard-Goodman (S.D. Fla.).

12. In re General Mills, Inc. Kix Cereal Litigation, Case No. 12-249 (KM) (JBC),U.S. District Court of
New Jersey

13. Dewayne Johnson v. Monsanto Company, Case No. CGC-16-550128, Superior Court State
of California County of San Francisco, and other federal and state cases involving
glyphosate and NHL.

                          RESEARCH and ANALYTICAL ACTIVITIES

1979-1983: Basic analytical work on the extent and distribution of soil erosion, findings used in
development of the conservation provisions in the 1985 farm bill.

1981- 1983: Congressional oversight investigation of the pesticide regulatory activities of the
Environmental Protection Agency, wrote a three-volume subcommittee report: "EPA Pesticide
Regulatory Study." The report's findings and recommendations set in motion activities that led to
the 1984-1987 NAS report Regulating Pesticides in Food: The Delaney Paradox (1987), the
seminal 1993 NAS report Pesticides in the Diets of Infants and Children, and passage of the “Food
Quality Protection Act” in 1996.

1988-1989: Compiled data and conducted analysis of private sector research investments in the
food and agricultural industries, leading to Appendix B, "Private Sector Research Activities and
Prospects", in Investing in Research: A Proposal to Strengthen the Agricultural, Food, and
Environmental System, NAS Press, 1989.

1995-2000: Developed the first system in the U.S. that quantifies the level of adoption of
Integrated Pest Management along the “IPM continuum.” This early model of IPM adoption has
been refined and augmented through several iterations and applications in multiple projects,
some of which are ongoing.

1999-2004: Developed a method to estimate the usage of subtherapeutic antimicrobials in
livestock production for growth promotion and disease prevention. Did the analytical work and
was principle author of the Union of Concerned Scientists’ report Hoggin It! Estimates of
Antimicrobial Abuse in Livestock (2001).
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2004-June 2012: Developed the “Nutritional Quality Index” (NQI), a food nutritional profiling
system encompassing 26 essential nutrients. For the first time ever, applied the system to all
foods consumed in a day by an individual. Utilized model in assessment of the fatty acid profile
of organic versus conventional whole milk.

2013-2014: Posted on the M2M website at Washington State University interactive systems
allowing access to: (i) USDA pesticide use data by crop, state, and over time in the U.S., and (ii)
detailed information on pesticide residues and risk levels in food, for organic and conventional
food, and imported foods and domestic production.

    PEER-REVIEWED PUBLICATIONS, REPORTS, PRESENTATIONS and ARTICLES

         Benbrook has published over 40 articles in peer reviewed journals, spanning multiple
disciplines including agricultural biotechnology, pesticide use and residues in food, soil and water
conservation, pesticide risk assessment methods, Integrated Pest Management, nutrition,
germplasm conservation, scientific basis for evaluating agricultural technologies, antibiotic use
and resistance, food safety, international agricultural development, sustainable agriculture, and
agricultural policy. See https://hygeia-analytics.com/about/who-we-are/#publications for a list of
publications with links to full text where available.

                                    Peer Reviewed Papers

Mesnage, R, Benbrook, C, Antoniou M.N. “Insight into the confusion over surfactant co-
      formulants in glyphosate-based herbicides,” Food and Chemical Toxicology, 2019,
      128:137-145. https://doi.org/10.1016/j.fct.2019.03.053

Benbrook, Charles "How did the US EPA and IARC reach diametrically opposed conclusions on
      the genotoxicity of glyphosate-based herbicides?," Environmental Sciences Europe, 2019,
      31(1). DOI: 10.1186/s12302-018-0184-7.
      https://enveurope.springeropen.com/articles/10.1186/s12302-018-0184-7.

Benbrook, Charles, "Why Regulators Lost Track and Control of Pesticide Risks: Lessons From the
      Case of Glyphosate-Based Herbicides and Genetically Engineered-Crop Technology,"
      Current Environmental Health Reports, 2018, 5(3), 387-395. DOI: 10.1007/s40572-018-
      0207-y. https://www.ncbi.nlm.nih.gov/pubmed/30003510.

Benbrook, Charles, Davis, D. R., Heins, B. J., Latif, M. A., Leifert, C., Peterman, L., Butler, G.,
      Faergeman, O., Abel-Caines, S., & Baranski, M., "Enhancing the fatty acid profile of milk
      through forage-based rations, with nutrition modeling of diet outcomes," Food Science &

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      Everett, L. G., Hansen, M., Landrigan, P. J., Lanphear, B. P., Mesnage, R., Vom Saal, F. S.,
      Welshons, W. V., & Myers, J. P., "Is it time to reassess current safety standards for
      glyphosate-based herbicides?," Journal of Epidemiology and Community Health, 2017,
      71(6), 613-618. DOI: 10.1136/jech-2016-208463.
      https://jech.bmj.com/content/jech/71/6/613.full.pdf.

Benbrook, Charles, "Enhancements Needed in GE Crop and Food Regulation in the U.S," Frontiers
      in Public Health, 2016, 4, 59. DOI: 10.3389/fpubh.2016.00059.
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Benbrook, Charles, "Trends in glyphosate herbicide use in the United States and globally,"
      Environmental Sciences Europe, 2016, 28(1), 3. DOI: 10.1186/s12302-016-0070-0.
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Myers, John Peterson, Antoniou, Michael N, Blumberg, Bruce, Carroll, Lynn, Colborn, Theo,
       Everett, Lorne G, Hansen, Michael, Landrigan, Philip J, Lanphear, Bruce P, Mesnage,
       Robin, Vandenberg, Laura N, Vom Saal, Frederick S, Welshons, Wade V, & Benbrook,
       Charles M, "Concerns over use of glyphosate-based herbicides and risks associated with
       exposures: a consensus statement," Environmental Health, 2016, 15, 19. DOI:
       10.1186/s12940-016-0117-0. https://www.ncbi.nlm.nih.gov/pubmed/26883814.

Srednicka-Tober, D., Baranski, M., Seal, C., Sanderson, R., Benbrook, C., Steinshamn, H.,
       Gromadzka-Ostrowska, J., Rembialkowska, E., Skwarlo-Sonta, K., Eyre, M., Cozzi, G., Krogh
       Larsen, M., Jordon, T., Niggli, U., Sakowski, T., Calder, P. C., Burdge, G. C., Sotiraki, S.,
       Stefanakis, A., Yolcu, H., Stergiadis, S., Chatzidimitriou, E., Butler, G., Stewart, G., &
       Leifert, C., "Composition differences between organic and conventional meat: a
       systematic literature review and meta-analysis," British Journal of Nutrition, 2016, 115(6),
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Srednicka-Tober, D., Baranski, M., Seal, C. J., Sanderson, R., Benbrook, C., Steinshamn, H.,
       Gromadzka-Ostrowska, J., Rembialkowska, E., Skwarlo-Sonta, K., Eyre, M., Cozzi, G.,
       Larsen, M. K., Jordon, T., Niggli, U., Sakowski, T., Calder, P. C., Burdge, G. C., Sotiraki, S.,
       Stefanakis, A., Stergiadis, S., Yolcu, H., Chatzidimitriou, E., Butler, G., Stewart, G., &
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       iron, but lower iodine and selenium concentrations in organic milk: a systematic
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       Gromadzka-Ostrowska, Joanna, Rembialkowska, Ewa, Skwarlo-Sonta, Krystyna,
       Tahvonen, Raija, Janovska, Dagmar, Niggli, Urs, Nicot, Philippe, & Leifert, Carlo, "Higher
       antioxidant and lower cadmium concentrations and lower incidence of pesticide residues
       in organically grown crops: a systematic literature review and meta-analyses," British
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Benbrook, Charles, & Baker, Brian P., "Perspective on Dietary Risk Assessment of Pesticide
      Residues in Organic Food," Sustainability, 2014, 6, 3552-3570. DOI: 10.3390/su6063552.
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      Tree Fruit Pesticide Residues and Risk," Acta Horticulturae, 2013.

Benbrook, Charles, Butler, Gillian, Latif, Maged A., Leifert, Carlo, & Davis, Donald R., "Organic
      production enhances milk nutritional quality by shifting fatty acid composition: A United
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Benbrook, Charles, & McCullum-Gomez, C., "Organic vs conventional farming," Journal of the
      American Dietetic Association, 2009, 109(5), 809,811. DOI: 10.1016/j.jada.2009.03.019.
      https://www.ncbi.nlm.nih.gov/pubmed/19394464.

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       nutritional quality of fruit and vegetables: A meta-analysis," HortScience, 2007, 42(4),
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                    Reports, Papers, and Book Chapters (partial list)

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